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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          MIDDLE DIVISION


BREAKING FREE,             LLC,
                       and }
CONNIE BUTTRAM,            }
                           }
    Plaintiffs,            }
                           }
v.                         }                Case No.: 4:18-cv-01659-ACA
                           }
JCG FOODS OF ALABAMA, LLC, }
KOCH MEAT CO., INC., and }
KOCH FOODS, INC.,          }
                           }
    Defendants.            }


                   MEMORANDUM OPINION AND ORDER

      Plaintiff Connie Buttram owns Plaintiff Breaking Free, LLC (“Breaking

Free”).    Plaintiffs are contract poultry growers for Defendants JCG Foods of

Alabama, LLC (“JCG”), Koch Meat Co., Inc., and Koch Foods, Inc. (collectively

“Koch”). Plaintiffs allege that Defendants prevented them from growing chickens

in a fair and profitable manner. Plaintiffs filed this lawsuit, asserting federal

claims against Defendants for violations of the Packers and Stockyards Act

(“PSA”) and the Agricultural Fair Practices Act (“AFPA”). Plaintiffs also assert

claims under Alabama state law for fraud, breach of contract, breach of the
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covenant of good faith and fair dealing, and negligent, willful, and reckless

misrepresentation.

       This case is before the court on Defendants’ motions to dismiss. (Doc. 11;

Doc. 25). Defendants seek dismissal of Plaintiffs’ PSA claim and their state law

claims for fraud, breach of the covenant of good faith and fair dealing, and

negligent, willful, and reckless misrepresentation. Defendants also ask the court to

dismiss Plaintiffs’ request for consequential and punitive damages.1

       For the reasons explained below, the court GRANTS IN PART and

DENIES IN PART the motions to dismiss.

I.     BACKGROUND

       At this stage, the court must accept as true the factual allegations in the

complaint and construe them in the light most favorable to the plaintiff. Butler v.

Sheriff of Palm Beach Cty., 685 F.3d 1261, 1265 (11th Cir. 2012). The court also

may consider documents attached to a motion to dismiss if it is central to the

plaintiff’s claims and the authenticity of the document is not challenged. Day v.

Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005). Defendants attach to their motions

to dismiss a copy of one of Plaintiffs’ contracts with JCG Foods and a letter from

Defendants’ counsel to Plaintiffs’ counsel. (Doc. 11-1; Doc. 11-2; Doc. 25-1; Doc.

25-2). The documents are central to Plaintiffs’ claim, and Plaintiffs have not

1
  Defendants have not moved to dismiss Plaintiffs claim for violations of the AFPA or their
claim for breach of contract. Those claims will proceed.
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challenged their authenticity.    Therefore, the court’s description of the facts

incorporates Plaintiffs’ allegations and the content of the documents attached to

Defendants’ motions to dismiss.

      Defendants operate a poultry processing plant in Collinsville, Alabama.

(Doc. 1 at ¶ 12). Defendants utilize poultry growing arrangements where poultry

farmers or independent contractors known as growers care for poultry pursuant to

instructions provided by Defendants. (Doc. 1 at ¶ 12).

      Plaintiffs operate a poultry growing farm in DeKalb County, Alabama.

(Doc. 1 at ¶¶ 1-2, 13). Ms. Buttram’s husband, Jonathan Buttram, lives on the

farm with her. (Doc. 1 at ¶ 13). Ms. Buttram and Mr. Buttram are members of the

Alabama Contract Poultry Growers Association (“ALCPGA”), and both have

served as officers of the organization. (Doc. 1 at ¶ 13).

      In late 2005, Koch contacted Ms. Buttram about growing poultry, and Koch

personnel stated that upon the company’s approval of poultry facilities, Koch

“would place birds in the facilities and would enter into a poultry growing

arrangement with [Ms.] Buttram for the production of broilers.” (Doc. 1 at ¶ 15).

Koch personnel also promised Ms. Buttram “that as long as she grew a good bird,

she would continue to receive baby chicks from Koch.”         (Doc. 1 at ¶ 15).

      Plaintiffs allege that “JCG’s and Koch’s representations that [Ms.] Buttram

would continue to receive chickens was the primary inducement for [Ms.] Buttram


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to enter into the agreement with JCG and Koch as well as to expend funds to

improve her chicken houses.” (Doc. 1 at ¶ 17). Plaintiffs also allege that JCG and

Koch “knew that their representations to [Ms.] Buttram that she would continue to

receive chickens as long as she grew good birds were false and were intended to

induce [Ms.] Buttram to improve her facilities on at least five (5) different

occasions at her expense and to continue to contract with JCG and Koch.” (Doc. 1

at ¶ 18).

       It is unclear from the complaint what the relationship is between JCG and

Koch. It is also unclear from the complaint when Plaintiffs first contracted with

Defendants or how many total contracts were signed, but the complaint refers to

two specific agreements. Plaintiffs entered a contract with JCG titled Broiler

Production Agreement (“BPA”). (Doc. 1 at ¶ 11). The complaint does not state

when the BPA was executed or how long it was in effect. According to Plaintiffs,

pursuant to the terms of BPA,

       JCG and Koch supply the chicks, feed, medicine, and other necessary
       supplies to the growers (Plaintiffs). The growers care for the chicks
       for approximately 5 to 6 weeks. Growers own their farms, chicken
       houses and equipment, and provide labor, materials, and utilities
       necessary to care for the chicks. The chicken houses and equipment
       must originally meet JCG’s and Koch’s strict requirements dealing
       with design plans and specifications subject to JCG’s and Koch’s sole
       approval before a grower is accepted by JCG and Koch. JCG and
       Koch also dictate the type of veterinary care provided to the birds
       throughout their lives and the birds’ condition of confinement.

(Doc. 1 at ¶ 11).
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       The second agreement specifically mentioned in the complaint is a Poultry

Production Agreement (“PPA”) that Plaintiffs and JCG executed on October 9,

2015. (Doc. 1 at ¶ 20; see Doc. 11-1). Pursuant to the terms of the PPA, JCG

delivers to Plaintiffs chickens along with feed, medication, other supplies, and

technical instruction. (Doc. 11-1 at 5). In exchange, Plaintiffs grow and care for

the chickens consistent with guidelines provided by JCG. (Doc. 11-1 at 5). The

PPA gives JCG sole discretion to determine the number, type, and size of chickens

placed on Plaintiffs’ farm; the time for processing chickens; and the date, time, and

interval of placement of future chickens. (Doc. 11-1 at 6). The PPA prohibits

Plaintiffs or its employees from owning, maintaining, or caring for other poultry or

birds, including “domestic poultry, fowl, turkey, ostrich, emu, rhea, or guinea” on

their farm. (Doc. 11-1 at 8). JCG pays Plaintiffs based on a specific formula that

incorporates a number of criteria determined by JCG. (Doc. 11-1 at 9-10, 22-23).

The PPA also contains a clause regarding limitation of damages. (Doc. 11-1 at

16).

       During the week of November 9, 2016, JCG picked up a flock of broilers

from Ms. Buttram’s farm for processing, and consistent with the terms of the PPA,

Ms. Buttram began preparing her poultry houses for the next flock of birds. (Doc.

1 at ¶ 22). JCG and Koch personnel told her to expect new chicks on her farm

within a few days. (Doc. 1 at ¶ 22). Ms. Buttram relied on these representations,


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and during the week of November 14, 2016, she continued preparing her poultry

houses for the next flock of chicks. (Doc. 1 at ¶¶ 23, 27-28). By the following

week, JCG and Koch had sprayed the poultry houses for insect and rodent control.

(Doc. 1 at ¶ 28).

      On November 23, 2016, JCG and Koch representative Mike Hales called

Ms. Buttram and summoned her to meet with JCG representatives to discuss Ms.

Buttram’s husband. (Doc. 1 at ¶ 29). Specifically, JCG representatives wanted

information regarding Mr. Buttram’s involvement with a restaurant in Ohio and the

restaurant’s role in assisting with a documentary called “Super Size Me 2: Holy

Chicken!”. (Doc. 1 at ¶¶ 29, 34). The meeting was to take place on November 28,

2016. (Doc. 1 at ¶ 26).

      On the morning on November 28, 2016, Ms. Buttram called JCG’s and

Koch’s office to ask why her feed had not been delivered and when she could

expect her next placement of birds. (Doc. 1 at ¶ 30). Mr. Hales told Ms. Buttram

that she needed to come to his office to discuss her husband’s activities. (Doc. 1 at

¶ 30). Because feed is generally delivered about a week before birds arrive, Ms.

Buttram was concerned that JCG and Koch would not deliver birds until after the

meeting. (Doc. 1 at ¶ 30). Mr. Hales assured Ms. Buttram that she would receive

birds on December 2, 2016. (Doc. 1 at ¶ 30).




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      Later on November 28, 2016, Ms. Buttram called Mr. Hales again and told

him that she needed to postpone the meeting. (Doc. 1 at ¶ 31). When Ms. Buttram

told Mr. Hales that she could not meet on November 28, 2016, Mr. Hales informed

her that she would not receive additional birds until the meeting took place. (Doc.

1 at ¶¶ 24, 32). Since then, JCG and Koch have continued to deny placement of

chicks on Ms. Buttram’s farm. (Doc. 1 at ¶ 32). JCG and Koch also have refused

to allow the Buttram’s children to grow chickens for them. (Doc. 1 at ¶ 33).

      On February 23, 2017, counsel for JCG sent a letter to Plaintiffs’ counsel.

(Doc. 26; see Doc. 11-2). The letter states, in pertinent part:

      In late November, JCG Foods requested a meeting with Connie
      Buttram to discuss important issues under her Poultry Production
      Agreement relating to significant biosecurity concerns that arose
      relating to poultry growing activities in which [JCG] learned Jonathan
      Buttram was engaged. Specifically, [JCG] learned that Mr. Buttram
      was engaged in growing free-range poultry while also assisting with
      the operations of Ms. Buttram’s farm, Breaking Free Farm.

      As you are likely aware, biosecurity and the prevention of bird
      disease, such as Avian Influenza, is an extremely important issue in
      the poultry industry. An outbreak of Avian Influenza at a farm
      growing chickens for [JCG] could be devastating to [JCG] and the
      industry. As a result of the risks associated with the possible spread
      of contagious disease, Ms. Buttram, just as all independent contractor
      producers under contract with [JCG], is required under her agreement
      to comply with [JCG’s] biosecurity requirements and is prohibited
      from raising any other flocks, poultry or birds on the farm or on any
      other premises. This prohibition includes anyone providing services
      on Ms. Buttram’s behalf. [JCG’s] understanding is that Mr. Buttram
      carries out day-to-day operational activities at the Breaking Free
      Farm.


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      The biosecurity risk associated with raising free-range poultry is
      particularly significant because of the potential exposure to wild birds,
      rodents, and animals through which transmission of infectious
      diseases may take place. For these reasons, when the Company
      learned that Mr. Buttram was involved with other poultry growing
      operations, it reached out to Ms. Buttram as the contracting party so
      that [JCG] could promptly and cooperatively assess the risks
      associated with Mr. Buttram’s activities and determine how to
      proceed. Meeting with producers about issues of significant concern
      involving the operation of their farms is not unusual and is certainly
      not unique to Ms. Buttram.

                                          ...

      [JCG] is acting in the best interests of both [Ms. Buttram] and [JCG]
      in addressing the important biosecurity concerns raised by Mr.
      Buttram’s other poultry growing activities. Once [JCG] understands
      the extent of Mr. Buttram’s involvement with growing other poultry
      and his current role with the operation of the Breaking Free Farm,
      [JCG] and Ms. Buttram can determine how to proceed with the goal
      of resuming flock placements at the farm promptly.

      If Ms. Buttram wishes to address the biosecurity concerns of [JCG]
      and receive additional flocks, please let me know when she might be
      available to meet with [JCG]. . . .

(Doc. 11-2 at 2-3).

      Plaintiffs allege that prior to February 23, 2017, Defendants never discussed

a potential bio-security threat. (Doc. 1 at ¶ 25). According to Plaintiffs, JCG’s

counsel’s representation regarding a potential bio-security problem at Ms.

Buttram’s farm was “conjured and false” and “intended to intimidate [Ms.]

Buttram into complying” with Defendants’ demands that she meet to discuss her

husband’s activities. (Doc. 1 at ¶ 26).


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II.   DISCUSSION

      Defendants move to dismiss Plaintiffs’ complaint on both procedural and

substantive grounds.    Procedurally, Defendants ask the court to dismiss the

complaint in its entirety because it is an improper shotgun pleading. (Doc. 12 at

21-22; Doc. 26 at 21-22). Substantively, Defendants seek to dismiss certain claims

for failure to state a claim. (Doc. 12 at 8-21, 23-25; Doc. 26 at 8-21, 23-25). The

court addresses each argument in turn.

      A.     Shotgun Pleading

      The court may dismiss a shotgun pleading that violates either Rule 8(a)(2) or

Rule 10(b) of the Federal Rules of Civil Procedure. Weiland v. Palm Beach Cty.

Sheriff's Office, 792 F.3d 1313, 1320 (11th Cir. 2015). Defendants argue that the

complaint is an impermissible shotgun pleading because the complaint does not

distinguish between the actions taken by the different Defendants. (Doc. 12 at 21-

22; Doc. 26 at 21-22). Therefore, Defendants contend that “they are left to divine

the nature of and facts supporting Plaintiffs’ claims.” (Doc. 12 at 22; Doc. 26 at

22). Plaintiffs respond that their “factual allegations jointly and severally concern

each named Defendant.” (Doc. 21 at 22; Doc. 32 at 21).

      The court should dismiss a shotgun complaint if it fails “to give the

defendants adequate notice of the claims against them and the grounds up on which

each claim rests.” Weiland, 792 F.3d at 1323. That is not the case here. In fact,


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all three Defendants submitted thorough responses to the complaint by way of their

motions to dismiss which indicates that the Defendants had no trouble

understanding the nature of Plaintiffs’ claims and the factual allegations supporting

those claims. Therefore, the court will not dismiss Plaintiffs’ complaint as an

impermissible shotgun pleading.

      B.     Merits

      Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants move to

dismiss Plaintiffs’ PSA, fraud, breach of the covenant of good faith and fair

dealing, and negligent, willful, and reckless misrepresentation claims for failure to

state a claim. (Doc. 12 at 8-21; Doc. 26 at 8-21). Defendants also ask the court to

dismiss or strike Plaintiffs’ request for consequential and punitive damages. (Doc.

12 at 23-25; Doc. 26 at 23-25).

       Typically, “[a] pleading that states a claim for relief must contain . . . a short

and plain statement of the claim showing that the pleader is entitled to relief.”

Fed. R. Civ. P. 8(a)(2). “To survive a motion to dismiss, the plaintiff must plead ‘a

claim to relief that is plausible on its face.’” Butler, 685 F.3d at 1265 (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).


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             1.    Count One (Violations of Packers and Stockyards Act)

      In Count One, Plaintiffs allege Defendants violated Sections 202(a) and (b)

of the PSA. (Doc. 1 at ¶¶ 37-39). Under the PSA, it is unlawful for live poultry

dealers to “[e]ngage in or use any unfair, unjustly discriminatory, or deceptive

practice or device” or “subject any particular person or locality to any undue or

unreasonable prejudice or disadvantage in any respect.” 7 U.S.C. § 192(a) and (b).

Plaintiffs allege that Defendants violated the PSA when they failed to place birds

on Plaintiffs’ farm in retaliation for Mr. Buttram’s activities and Mr. and Ms.

Buttram’s membership in ALCPGA. (Doc. 1 at ¶ 34). Defendants argue that

Plaintiffs’ PSA claims fail to state a claim because Plaintiffs have not alleged

conduct that adversely affects competition or that is likely to adversely affect

competition. (Doc. 12 at 10-16; Doc. 26 at 10-16).

      The Eleventh Circuit has held that “to succeed on a claim under the PSA, a

plaintiff must show that the defendant’s unfair, discriminatory or deceptive

practice adversely affects or is likely to adversely affect competition.” London v.

Fieldale Farms Corp., 410 F.3d 1295, 1303 (11th Cir. 2005). Thus, at the Rule

12(b)(6) stage, to sufficiently state a claim under the PSA, Plaintiffs must allege

facts from which the court can plausibly infer that Defendants’ acts have or are

likely to have an anticompetitive effect.




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      In their complaint, Plaintiffs allege that Koch controls 7.4% of the

nationwide contract poultry market.     (Doc. 1 at ¶ 4). Plaintiffs allege that Ms.

Buttram has grown chicks for Defendants since at least 2005. (Doc. 1 at ¶ 15).

Ms. Buttram and her husband have been active members and officers of ALCPGA,

a statewide agricultural cooperative association “dedicated to promoting the

common interest and general welfare of producers of agricultural products.” (Doc.

1 at ¶ 14). And Mr. Buttram has a relationship with a restaurant that was involved

in the making of a documentary that might reflect poorly on Defendants. (Doc. 1

at ¶¶ 19, 34).

      Plaintiffs allege that in retaliation for the Buttrams’ work with ALCPGA and

for Ms. Buttram’s failure to meet with Defendants’ executives to discuss her

husband’s “escalating work to educate the public about abuses in the poultry

industry and the poultry marketplace,” Defendants breached the PPA and stopped

placing chicks on Plaintiffs’ farm, despite Ms. Buttram’s satisfactory performance

under the terms of her contract. (Doc. 1 at ¶¶ 19, 31). Plaintiffs also allege that

Defendants falsely claimed that Mr. Buttram’s activities created a bio-security

problem at Plaintiffs’ farm, and this claim was “intended to intimidate [Ms.

Buttram] into complying with their demands that she must become their informant

as it relates to her husband’s activities.” (Doc. 1 at ¶ 26). In addition, Plaintiffs




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allege that Defendants have refused to allow the Buttrams’ children to grow

chickens for them. (Doc. 1 at ¶ 33).

       Although tenuous, at the pleading stage, the court can infer from these

allegations that Defendants’ acts are likely to harm competition.                     Plaintiffs

expressly allege that Defendants have prohibited other potential growers (the

Buttram children) from entering the contract chicken growing business. And the

court can reasonably infer that Defendants’ practices with Plaintiffs would

discourage other growers from entering poultry growing contracts. Accordingly,

the court DENIES Defendants’ motion to dismiss Plaintiffs’ PSA claims. 2

              2.      Count Three (Fraud)

       In    Count     Three,     Plaintiffs    allege    that    Defendants      fraudulently

misrepresented that “as long as [Ms. Buttram] grew good birds, she would

continue to receive placements of baby chicks from JCG and Koch.” (Doc. 1 at ¶

48). Under Alabama law, to state a claim for fraudulent misrepresentation, a

plaintiff must allege facts showing “(1) a false representation; (2) that the false

representation concerned a material existing fact; (3) that the plaintiff relied upon

the false representation; and (4) that the plaintiff was damaged as a proximate

result of the reliance.” Billy Barnes Enterprises, Inc. v. Williams, 982 So. 2d 494,

2
  Because the court finds that Plaintiffs have adequately pleaded that Defendants’ actions are
likely to have an anticompetitive effect, the court does not address at this juncture Plaintiffs’
alternative arguments that their PSA claims may survive a motion to dismiss without an
allegation of anticompetitive conduct. (See Doc. 21 at 12-18; Doc. 32 at 10-18).
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499 (Ala. 2007) (internal quotation marks and citation omitted).         Defendants

contend that Plaintiffs’ fraud claim fails because an alleged failure to perform a

contract cannot state a claim for fraud independent from Plaintiffs’ breach of

contract claim and because Plaintiffs failed to plead their fraud claim with the

specificity required under Federal Rule of Civil Procedure 9(b). (Doc. 12 at 16-18;

Doc. 26 at 16-18).

      Under Alabama law, “[a] mere failure to perform a contract obligation is not

a tort” and will not support a fraud claim. C & C Products, Inc. v. Premier Indus.

Corp., 275 So. 2d 124, 130, 290 Ala. 179, 186 (Ala. 1972). However, when a

defendant fraudulently induces a plaintiff into making a contract and

“misrepresents facts related to its intention or ability to perform under a contract,

‘a single transaction can support an award of damages for both breach of contract

and fraud.’” Combined Servs., Inc. v. Lynn Elecs. Corp., 888 F.2d 106, 107 (11th

Cir. 1989) (quoting Deupree v. Butner, 522 So. 2d 242, 244 (Ala. 1988));

Dickinson v. Land Developers Const. Co., Inc., 882 So. 2d 291, 304 (Ala. 2003) (J.

Houston, concurring specially) (“[T]o assert a fraud claim that stems from the

same general facts as one’s breach-of-contract claim, the fraud claim must be

based on representations independent from the promises in the contract and must

independently satisfy the elements of fraud.”) (citing Deupree, 522 So. 2d at 245

(Ala. 1988)).


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      In their complaint, Plaintiffs allege that Defendants’ “representations that

[Ms. Buttram] would continue to receive chickens was the primary inducement for

[Ms.] Buttram and Breaking Free to enter into the agreement with JCG and Koch

as well as expend funds to improve her chicken houses.” (Doc. 1 at ¶¶ 17, 49).

Plaintiffs also allege that Defendants knew that these representations “were false

and intended to induce [Ms. Buttram] to improve her facilities on at least five (5)

different occasions at her expense and to continue to contract with JCG and Koch.”

(Doc. 1 at ¶¶ 18, 50).        Plaintiffs allege that they reasonably relied on the

representations and have suffered damages as a result. (Doc. 1 at ¶¶ 53, 56-57).

Therefore, to the extent Plaintiffs’ fraud claim is based on these allegations, at the

pleading stage, the claim survives Defendants’ initial challenge because the

Plaintiffs have alleged misrepresentations of fact regarding Defendants’ intentions

to perform its obligations under the contract separate from the promises in the

contract itself. However, the general nature of Plaintiffs’ fraud allegations do not

meet Rule 9(b)’s heightened pleading requirement.

      “In alleging fraud or mistake, a party must state with particularity the

circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). In the Eleventh

Circuit, a plaintiff satisfies this requirement if the complaint sets forth:

      (1) precisely what statements were made in what documents or oral
      representations or what omissions were made, and (2) the time and
      place of each such statement and the person responsible for making
      (or, in the case of omissions, not making) same, and (3) the content of
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      such statements and the manner in which they misled the plaintiff, and
      (4) what the defendants obtained as a consequence of the fraud.

Ziemba v. Cascade Int'l, Inc., 256 F.3d 1194, 1202 (11th Cir. 2001) (quoting

Brooks v. Blue Cross and Blue Shield of Fla., Inc., 116 F.3d 1364, 1371 (11th Cir.

1997)). “[I]t is sufficient to plead the who, what, when, where, and how of the

allegedly false statements and then allege generally that those statements were

made with the requisite intent.” Mizzaro v. Home Depot, Inc., 544 F.3d 1230,

1237 (11th Cir. 2008).

     Plaintiffs’ complaint does not allege the time and place of each allegedly

false statement or the person responsible for making the statement (i.e. the who,

when, and where of the purportedly false statements). (See Doc. 1 at ¶¶ 17-18; 49-

50). Therefore, the court GRANTS Defendants’ motion to dismiss Plaintiffs’

fraud claim and DISMISSES Count Three WITHOUT PREJUDICE.

            3.    Count Five (Breach of Implied Covenant of Good Faith and
                  Fair Dealing)

      In Count Five, Plaintiffs allege that Defendants violated an implied covenant

of good faith and fair dealing contained in Plaintiffs’ contract with JGC Foods.

(Doc. 1 at 18-19). Defendants argue that the court should dismiss Plaintiffs’ good

faith and fair dealing claim because Alabama law does not recognize a cause of

action for breach of implied covenants of good faith and fair dealing outside of




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consumer insurance contracts. (Doc. 12 at 19; Doc. 26 at 19-20). Plaintiffs offer

no response to Defendants’ argument. (See generally Doc. 21; Doc. 32).

      “Although every contract contains either an express or an implied covenant

that the parties will act in good faith in performing the contract, in Alabama only

insurance contracts give rise to a duty imposed by law on which a tort claim for

bad faith performance can be based.” Grant v. Butler, 590 So. 2d 254, 256 (Ala.

1991) (finding that trial court properly dismissed good faith and fair dealing claim

based on employment contract); see e.g., Buckentin v. SunTrust Mortg. Corp., 928

F. Supp. 2d 1273, 1287 (N.D. Ala. 2013) (plaintiff’s breach of implied covenant of

good faith fair dealing claim based on mortgage contract failed as matter of law).

      The contract in this case is not an insurance contract. Accordingly, the court

GRANTS Defendants’ motions to dismiss Plaintiffs’ good faith and fair dealing

claim. The court DISMISSES Count Five WITH PREJUDICE.

             4.     Count Six (Negligent, Willful, and Reckless Misrepresentation)

      In   Count     Six,   Plaintiffs   allege   negligent,   willful,   and   reckless

misrepresentation. (Doc. 1 at 19-20). Specifically, Plaintiffs claim that “JCG’s

and Koch’s representations regarding Plaintiffs’ so-called bio-security problems

performance were negligently, willfully and recklessly prepared and presented and

were material and intended to show that the Plaintiffs’ bio-security problem was a

true, correct, and fair analysis.” (Doc. 1 at ¶ 69).


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      Under Alabama law, “[t]he elements of a misrepresentation claim are 1) a

misrepresentation of material fact, 2) made willfully to deceive, recklessly, without

knowledge, or mistakenly, 3) which was reasonably relied on by the plaintiff under

the circumstances, and 4) which caused damage as a proximate consequence.”

Bryant Bank v. Talmage Kirkland & Co., Inc., 155 So. 3d 231, 238 (Ala. 2014).

Defendants argue that Plaintiffs’ complaint does not state a misrepresentation

claim because there is no allegation in the complaint that Defendants made a false

representation that Plaintiffs relied on to their detriment.

      The basis of Plaintiffs’ misrepresentation claim is Defendants’ alleged

misrepresentation regarding the bio-security risk that Plaintiffs’ farm posed. (Doc.

1 at ¶ 69). Plaintiffs argue that they sufficiently pleaded reasonable reliance on this

misrepresentation because on November 9, 2016, Defendants told Plaintiffs that

birds would be placed on their farm after meeting to discuss Mr. Buttram’s

activities, and beginning on November 14, 2016, in reliance on those statements,

Plaintiffs continued to prepare their poultry houses to receive birds. (Doc. 21 at

21-22; Doc. 32 at 20-21) (citing Doc. 1 at ¶¶ 22, 24). However, by Plaintiffs’ own

pleading, Defendants first made statements regarding potential bio-security

concerns in February 2017 when Defendants’ counsel sent Plaintiffs’ counsel a

letter. (Doc. 1 at ¶¶ 25-26; see also Doc. 11-2). Therefore, any actions Plaintiffs

took in November 2016 could not have been in reasonable reliance on statements


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that were not made until February 2017, and Plaintiffs have not sufficiently stated

a claim for negligent, willful, and reckless misrepresentation.

      Accordingly, the court GRANTS Defendants’ motion to dismiss Plaintiffs’

negligent, willful, and reckless misrepresentation claim and DISMISSES Count

Six WITHOUT PREJUDICE.

             5.    Consequential and Punitive Damages

      In their complaint, Plaintiffs request punitive damages and incidental and

consequential damages for lost business opportunities, loss of reputation, and

mental and emotional anguish. (Doc. 1 at ¶¶ 40, 46, 57, 58, 62, 66, 70-71). The

PPA contains a clause limiting damages. (Doc. 11-1 at 16). The clause states, in

relevant part, that JCG “will not be liable to [Plaintiffs] for, and [Plaintiffs] as a

part of the bargain of this Agreement, waive[] claims against [JCG] for punitive,

incidental and consequential damages, including claims for lost profits or revenue

or exemplary damages.” (Doc. 11-1 at 16). Based on this contractual provision,

Defendants ask the court to dismiss or strike Plaintiffs’ request for incidental,

consequential, and punitive damages.

      Alabama courts enforce contractual provisions that restrict recovery of

certain types of damages, as long as the provisions are not unconscionable and do

not violate public policy. Sears Termite & Pest Control, Inc. v. Robinson, 883

So.2d 153, 156-158 (Ala. 2003). The test for determining whether a contract is


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unconscionable has two elements: “(1) terms that are grossly favorable to a party

that has (3) overwhelming bargaining power.” Am. Gen. Fin., Inc. v. Branch, 793

So. 2d 738, 748 (Ala. 2000); see also Layne v. Garner, 612 So. 2d 404, 408 (Ala.

1992) (“An unconscionable contract or contractual provision is defined as a

contract or provision such as no man in his sense and not under delusion would

make on the one hand, and as no honest and fair man would accept on the other.”)

(internal quotation marks and citation omitted).

      Plaintiffs   submit   that   the   contractual   limitation   on   damages   is

unconscionable. (Doc. 21 at 24-27; Doc. 32 at 23-25). Defendants respond that

“without evidence or support,” this “blanket accusation of unconscionability

cannot invalidate a contract that was freely bargained for.” (Doc. 27 at 18; see

Doc. 41 at 17). At the pleading stage, Plaintiffs need not submit evidence in

support of this contention, and the court finds that Plaintiffs have sufficiently

raised the issue of unconscionability. Therefore, the court DENIES Defendants’

motion to dismiss or strike Plaintiffs’ request for consequential, incidental, and

punitive damages.

             6.     Amendment

      In response to Defendants’ motion, Plaintiffs request leave to amend their

complaint to sufficiently plead their fraud and negligent, willful, and reckless

misrepresentation claims should the court determine that the original complaint


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fails to do so. (Doc. 21 at 18, 22; Doc. 32 at 20). A response in opposition to a

motion is not the appropriate manner to seek leave to amend. Rosenberg v. Gould,

554 F.3d 962, 967 (11th Cir. 2009) (“Where a request for leave to file an amended

complaint simply is imbedded within an opposition memorandum, the issue has

not been raised properly.”) (quotation marks omitted).

       Because the time to amend as a matter of course has passed, Plaintiffs must

receive   Defendants’    consent    or   the   court’s   leave   to   amend.    See

Fed. R. Civ. P. 15(a). Under Federal Rule of Civil Procedure 15(a)(2), the court

must “freely give leave [to amend] when justice so requires.” Counseled plaintiffs

should seek leave to amend in a motion, “set[ting] forth the substance of the

proposed amendment or attach[ing] a copy of the proposed amendment.” Cita Tr.

Co. AG v. Fifth Third Bank, 879 F.3d 1151, 1157 (11th Cir. 2018); see also Doc.

45 at ¶ 1 (stating that a motion for leave to amend should contain as an exhibit the

“complete and executed amended pleading”). The court cannot determine whether

amendment is proper without seeing the substance of the proposed amendments.

III.   CONCLUSION

       The court GRANTS IN PART and DENIES IN PART Defendants’

motions to dismiss.




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      The court GRANTS the motions as to Counts Three, Five, and Six. The

court DISMISSES Counts Three and Six WITHOUT PREJUDICE, and the

court DISMISSES Count Five WITH PREJUDICE.

      The court DENIES the motions as to Count One and Plaintiffs’ request for

consequential, incidental, and punitive damages.

      If Plaintiffs still wish to amend their fraud claim (Count Three) and their

negligent, willful, and reckless misrepresentation claims (Count Six), within 7

days of entry of this order, Plaintiffs must file a motion to amend, attaching to the

motion their proposed amended complaint.

      DONE and ORDERED this April 8, 2019.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




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